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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                               Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                         Case No.: 1:15−cr−00399
                                                           Honorable Manish S. Shah
Theodore J Wojtas Jr., et al.
                                          Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, September 26, 2018:


        MINUTE entry before the Honorable Manish S. Shah: as to Theodore J. Wojtas,
Jr. The motion for leave to proceed in forma pauperis [420] is granted. The Clerk is
directed to forward a copy of this order to the court of appeals in regards to case no.
18−2737. No appearance on the motion is necessary. Notices mailed. (psm, )




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Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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